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lN THE UN|TED STATES DlSTR|CT COURT
FOR THE lVllDDLE DlSTR|CT OF GEORGIA
VALDOSTA DlVlSlON

THE B & F SYSTEM, lNC.,
Plaintiff,

V. Civil Action NO. 7207-CV-192 (HL)

LLOYD J. LEBLANC JR., MAXAM
WHOLESALE OF ATLANTA, lNC., DlRECT
SOURCE lMPORTS, lNC., ARTHUR JEFFREY
LEBLANC, LLOYD LEBLANC, lll, PRODUCTOS
lV|EX|CANOS DON JOSE, lNC., LEBLANC’S

   

t »»»» §§
LLc, and EDNA G. LEBLANC, M
UNl`l`El:) S?ATES UlSlF{lCT CC'URT
Defendants. waste nimmer or aspects

 

 

JURY CHARGES - PHASE ll

LAD|ES AND GENTLE|\/IEN:

You have heard Phase || of the trial of this case and it now
becomes my duty to explain to you the rules of law which you must
follow and apply in reaching a decision in this phase. When l have

concluded, you wi|| retire to the jury room and begin your

deliberations

ln deciding this phase of the case, you must follow and apply

all ofthe law as l explain it to you, whether you agree with that law or

 

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not; and you must not let your decision be influenced in any way by

sympathy, or by prejudice, for or against anyone.

The fact that a corporation is involved as a party must not affect
your decision in any way. A corporation and all other persons stand
equal before the law and must be dealt with as equals in a court of
justice. When a corporation is involved, of course, it may act only
through people as its employees; and, in general, a corporation is
responsible under the law for any of the acts and statements of its
employees that are made within the scope of their duties as

employees of the company.

|n your deliberations, you should consider only the evidence - -
that is, the testimony of the witnesses and the exhibits l have
admitted in the record - - but as you consider the evidence, both

direct and circumstantial, you may make deductions and reach

 

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conclusions which reason and common sense lead you to make.
Direct evidence is the testimony of one who asserts actual
knowledge of a fact, such as an eyewitness Circumstantial evidence
is proof of a chain of facts and circumstances tending to prove, or
disprove, any fact in dispute. The law makes no distinction between

the weight you may give to either direct or circumstantial evidence.

Remember that anything the lawyers have said is not evidence
in the case. And, except for my instructions to you on the law, you
should disregard anything l have said during the trial in arriving at
your decisions concerning the facts. lt is your own recollection and

interpretation of the evidence that controls.

Now, in saying that you must consider all of the evidence, l do
not mean that you must accept all of the evidence as true or

accurate. You should decide whether you believe what each witness

 

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had to say, and how important that testimony was. |n making that
decision you may believe or disbelieve any witness, in whole or in
part. Also, the number of witnesses testifying concerning any

particular dispute is not controlling

ln deciding whether you believe or do not believe any witness l

suggest that you ask yourself a few questions:

Did the witness impress you as one who was telling the truth?

Did the witness have any particular reason not to tell the truth?

Did the witness have a personal interest in the outcome of the
case?

Did the witness seem to have a good memory?

Did the witness have the opportunity and ability to observe

accurately the things he or she testified about?

 

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Did the witness appear to understand the questions clearly and

answer them directly?

Did the witness' testimony differ from other testimony or other

evidence?

You should also ask yourself whether there was evidence
tending to prove that the witness testified falsely concerning some
important fact; or, whether there was evidence that at some other
time the witness said or did something, or failed to say or do
something, which was different from the testimony the witness gave

before you during the trial.

You should keep in mind, of course, that a simple mistake by a
witness does not necessarily mean that the witness was not telling
the truth as he or she remembers it, because people naturally tend

to forget some things or remember other things inaccurately. So, if a

 

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witness has made a misstatement, you need to consider whether
that misstatement was simply an innocent lapse of memory or an
intentional falsehood; and the significance of that may depend on
whether it has to do with an important fact or with only an

unimportant detail.

When knowledge of a technical subject matter might be helpful
to the jury, a person having special training or experience in that
technical field is permitted to state an opinion concerning those

technical matters.

l\/lere|y because such a witness has expressed an opinion,
however, does not mean that you must accept that opinion. The

same as with any other witness, it is up to you to decide whether to

rely upon it.

 

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ln this phase each party asserting a claim or an affirmative
defense has the responsibility to prove every essential part of the
claim or affirmative defense by a preponderance of the evidence.
This is sometimes called the burden of proof or the burden of

persuasion

A preponderance of the evidence simply means an amount of

evidence that is enough to persuade you that a claim is more likely

true than not true.

When more than one claim is involved, and when more than
one affirmative defense is asserted, you should consider each claim
and each affirmative defense separately; but in deciding whether
any fact has been proved by a preponderance of the evidence, you

may consider the testimony of all of the witnesses, regardless of

 

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who may have called them, and all of the exhibits received in

evidence, regardless of who may have produced them.

lf the proof fails to establish any essential part of a claim by a

preponderance of the evidence you should find against the party

making that claim.

lt is possible that you may find for B&F on one or more of its
claims and that you may find for Lloyd LeBlanc on one or more of his
counterclaims lf this happens, simply record yourfindings according
to the verdict form and the Court will deal with any questions at a

later date.

 

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BREACH OF CONTRACT

The first claims about which you heard evidence in the second
phase of the trial were the parties’ breach of contract claims l will
review briefly what the breach of contract claims are, and will then

charge you on the applicable law for those claims

You must decide whether Lloyd LeBlanc breached Paragraphs
4 or E of the l\/laxam independent Distributor Agreement. in
determining whether there was a breach of contract, you are to
consider only Paragraphs 4 and E of the l\/laxam independent
Distributor Agreement and no other paragraphs of the Agreement.
B&F bears the burden of showing a breach of the l\/laxam

independent Distributor Agreement by a preponderance of the

evidence.

 

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The l\/iaxam independent Distributor Agreement makes
reference to the i\/liD and the Company. The i\/iiD is Lloyd LeBlanc.

The Company is B&F.

Paragraph 4 of the l\/iaxam independent DistributorAgreement
states that: “i\/liD further agrees to cooperate with ali of the
Company’s promotional programs, and to sell ali of the Company’s
existing customers as weil as making a continuing effort to establish
new accounts and customers that will become part to The B & F

System master customer iist.”

Paragraph E of the i\/iaxam independent DistributorAgreement
states that: “The Company wiii supply printouts of master customer
list for area, inventory status reports, and other such reports as

available at no charge. The master customer list remains the

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property of The B & F System, inc., and may not be soid, ieased, or

given to any person or company for any purpose whatsoever.”

You must also decide whether Lloyd LeBlanc breached
Paragraphs 1, 2, 3, 4, or 6 of the Service l\/lark License Agreement.
B&F bears the burden of showing a breach of the Service i\/iark

License Agreement by a preponderance of the evidence.

The Service i\/iark License Agreement makes reference to the

Licensee. Lloyd LeBlanc is the Licensee.

Paragraph 1 of the Service i\/iark License Agreement states:
“Licensee acknowledges that B & F has the sole and exclusive rights
to use the mark ‘i\/iAXAl\/l’ as a service mark in connection with

wholesale and retail sales services.”

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Paragraph 2 of the Service i\/iark Agreement states: “B & F
hereby grants Licensee a royalty-free nonexclusive right and iicense,
canceiiabie at wiii, to use the service mark ‘l\/lAXAl\/i’ for retail and
wholesale sales services, to use the mark ‘i\/iAXAi\/l’ as part of its
business title, and to othen/vise enjoy the goodwill associated with
said mark. The nature of the services with which the service mark
‘l\/iAXAi\/i’ is to be used by Licensee shall have the approval of B & F
in orderto maintain the high standards of quality associated with the
service mark ‘i\/iAXAi\/l.’ it is agreed by B & F that the present
standards of services rendered by Licensee are satisfactory and
Licensee agrees to maintain the present standards of quality

services rendered during the duration of the license herein granted.”

Paragraph 3 of the Service i\/lark License Agreement states:
“Licensee shall not in any manner represent that Licensee has any

ownership in the mark licensed herein, any registration thereof, or

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any other mark incorporating the term ‘i\/lAXAi\/l’; and acknowledges
that Licensee’s use of the mark shall not create in Licensee any
right, title or interest in or to the licensed mark or any other mark

incorporating the term ‘i\/lAXAl\/i,’ other than the license herein

granted.

Paragraph 4 of the Service l\/iark License Agreement states:
“Licensee agrees that it will exercise the right granted hereby in strict
compliance with the limitations hereof and will comply with all
instructions and limitations regarding use of the mark submitted to
Licensee in writing by B & F. Licensee further agrees to permit B&F,
through any duly authorized representative, to inspect Licensee’s
premises to determine compliance with the terms and conditions of

the license herein granted.”

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Paragraph 6 of the Service i\/iark License Agreement states:
“Either party hereto may terminate this license at any time by
delivery of written notice of termination to the other party. Upon
termination of the license herein granted, Licensee shall immediately
cease and desist from any further use of the mark ‘l\/iAXAl\/i’ or any
colorable imitation thereof in any form and, if Licensee has included
the term ‘l\/iAXAl\/l’ in its corporate name or title, Licensee shall

immediately change such corporate name or title to delete therefrom

the term ‘i\/iAXAi\/i.”’

You must also decide whether B&F breached Paragraph 9 of
the l\/iaxam independent DistributorAgreement. Lloyd LeBlanc bears

the burden ofshowing a breach of Paragraph 9 by a preponderance

of the evidence.

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Paragraph 9 of the i\/iaxam independent DistributorAgreement
states: “Uniess otherwise mutually agreed, the termination of this
Agreement may be made by the i\/iiD by giving ninety (90) days
written notice to the Company. Uniess mutually agreed, the
termination of this Agreement may be made by the Company by
giving no less than ninety (90) days written notice to the i\/iiD, but

only if due cause can be shown for such termination.”

You must also decide whether the i\/iaxam independent
Distributor Agreement was modified or amended through course of
dealing or course of performance, and whether the Agreement, as
modified or amended, was breached by B&F. The particular
provisions of the i\/iaxam independent DistributorAgreement at issue
in this counterclaim are Paragraphs E, 5, 7, and 22. You must

decide whether Lloyd LeBlanc has proven a modification or

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amendment of the i\/iaxam independent DistributorAgreement and a

breach by B&F by a preponderance of the evidence.

Paragraph E ofthe i\/iaxam independent DistributorAgreement
states: “The Company will supply printouts of master customer list
for area, inventory status reports, and other such reports as
available at no charge. The master customer list remains the
property of The B & F System, inc., and may not be sold, leased, or

given to any person or company for any purpose whatsoever.”

Paragraph 5 of the l\/laxam independent DistributorAgreement
states: “Tifton, Georgia will be the city in which the i\/llD will establish
the base of operation and have the warehouse and showroom. The
B & F System, lnc. will not open another i\/laxam independent

Distributor or Company branch within this trade area.”

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Paragraph 7 of the i\/iaxam independent DistributorAgreement
states: “The i\/liD shall be credited with all orders written and
delivered from i\/iiD facility. Further, a 3% commission rate will be
paid on orders shipped from Dalias to customers established and
placed on the Company’s master customer list by i\/iiD, when i\/llD
request that such orders be shipped by the Dalias warehouse.
Speciai commissions may vary and apply to special promotions and
types of sales Variations and special commissions may vary and
apply to special promotions and types of sales Variations and
special commissions will be furnished to i\/iiD in writing before such

special sales are made.”

Paragraph 22 of the l\/iaxam independent Distributor
Agreement states in part: “The B & F System, inc. further agrees to
provide a pricing structure that will allow i\/ilD to receive: A. Gross

profits of the difference between Dalias case price less 12.8 percent

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(12.8%) and the selling price on regular catalog items Ciose outs,
overstock speciais, advertising speciais, and other discounted
selling prices will carry a profit of between fifteen percent (15%) and
three percent (3%) less any discounts earned on invoice. From time
to time, there may be items sold with no profits earned. - K items will
carry a profit less than 12.8%”; and “E. Any customer given a special
price at the instruction of Dalias will carry at least a three percent

(3%) commission on the total invoice.”

You must also decide whether B&F breached the covenant of
good faith and fair dealing implied under Georgia iaw. Lloyd LeBlanc

bears the burden of proof by a preponderance of the evidence on

this counterclaim.

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Oniy if you find in favor of Lloyd LeBlanc on one of his breach
of contract counterclaims would you be authorized to find that B&F

breached the covenant of good faith and fair dealing.

l have reviewed the nature of the breach of contract claims l

will now instruct you on the law governing each of the breach of

contract claims

A contract is an agreement between two or more parties for the

doing or not doing of some specified thing.

Every contract imposes upon each party a duty of good faith
and fair dealing in its performance and enforcement. Whenever the
cooperation of the promise is necessary for the performance of the
promise, there is an implied promise that cooperation will be given.

Unintentionai failure to perform duties under a contract nevertheless

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constitutes a breach of contract for which damages may be
recovered . However, there can be no breach of the implied covenant

of good faith where a party to a contract does what the contract

expressly allows it to do.

A breach of contract arises by the failure of a party to perform
under the terms of the contract without legal excuse, fauit, or

consent of the opposite party.

A course of dealing is a sequence of previous conduct between
the parties to a particular transaction which is fairly to be regarded
as establishing a common basis of understanding for interpreting

their expressions and other conduct.

Where the contract for sale involves repeated occasions for

performance by either party with knowledge of the nature of the

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performance and opportunity for objection to it by the other, any
course of performance accepted or acquiesced in without objection

shall be relevant to determine the meaning of the agreement

Where one who can read signs a contract without reading it, he

is bound by its terms

Where instruments are executed at the same time and in the
course of the same transaction, they should be read and construed

together.

The relation of principal and agent arises whenever one
person, expressly or by implication, authorizes anotherto act for him

or subsequently ratifies the acts of another in his behalf.

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The principal shall be bound by ali the acts of his agent within
the scope of his authority; ifthe agent shall exceed his authority, the

principal may not ratify in part and repudiate in part; he shall adopt

either the whole or none.

if you find for B&F on any of its breach of contract ciaims, you

must determine B&F’s damages

if you find for Lloyd LeBlanc on any of his breach of contract

counterclaims you must determine i\/lr. LeBlanc’s damages

Damages are given as compensation for injury sustained

Damages recoverable for a breach of contract are such as

arise naturally and according to the usual course of things from the

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breach and such as the parties contemplated when the contract was

made as the probable result of the breach.

The measure of damages for breach of contract is the amount
which will compensate the injured party for a loss which a fulfillment
of the contract would have prevented or the breach of it entailed.
That is, the injured party is, so far as it is possible to do so by a
monetary award, to be placed in the position it would have been in

had the contract been fully performed.

in every case of breach of contract, the party not breaching it
has a right to damages But, ifthere has been no actual damage, the

non-breaching party can recover nominal damages

Nominal damages are generally defined as a trivial sum

awarded where a breach of duty or an infraction of the plaintiff’s right

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is shown, but no serious loss is proved. However, the term nominal
damages is purely reiative, and carries with it no suggestion of

certainty as to amount

Remote or consequential damages are not allowed whenever
they cannot be traced solely to the breach of the contract, unless
they may be computed exactly, such as the profits that are the
immediate fruit of the contract and are independent of any collateral

enterprises entered into in contemplation of the contract

Where by a breach of contract a party is injured, he is bound to

lessen the damages as far as is practicable by the use of ordinary

care and diligence.

Any person who claims damages as a result of an alleged

wrongful act on the part of another has a duty under the law to

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mitigate those damages - that is, to take advantage of any
reasonable opportunity that may have existed under the

circumstances to reduce or minimize the loss or damage.

TORT|OUS lNTERFERENCE WlTH

CONTRACTUAL RELAT|ONS

The second claims about which you heard evidence in this
phase of the trial were B&F’s tortious interference with contractual
relations claims l will review briefly what the tortious interference
claims are, and will then charge you on the applicable law for those
claims B&F bears the burden of proof by a preponderance of the

' evidence on ali of the tortious interference claims

You must decide whether Productos l\/lexicanos Don Jose, inc.

tortiously interfered with the contractual relationship between Lloyd

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LeBlanc and B&F established by the i\/laxam independent Distributor

Agreement prior to the termination of the Agreement on i\/iay 31,

2007.

You must decide whether Direct Source imports, lnc. tortiously
interfered with the contractual relationship between Lloyd LeBlanc
and B&F established by the i\/iaxam independent Distributor
Agreement However, any tortious interference claim against Direct
Source imports, inc. is limited to the time period between the
incorporation of Direct Source lmports, inc. on l\/lay 25, 2007 and the
date the l\/laxam independent Distributor Agreement was terminated,

lviay 31, 2007.

You must also determine whether Edna LeBlanc tortiously

interfered with the contractual relationship between B&F and Lloyd

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LeBlanc as established by the Service i\/iark License Agreement

prior to the termination of the Agreement on November 12, 2007.

You must determine whether Jeff LeBlanc tortiously interfered
with the contractual relationship between B&F and Lloyd LeBlanc as
established by the Service i\/lark License Agreement prior to the

termination of the Agreement on November 12, 2007.

You must decide whether Jody LeBlanc tortiously interfered
with the contractual relationship between B&F and Lloyd LeBlanc as
established by the Service l\/lark License Agreement prior to the

termination of the Agreement on November 12, 2007.

You must determine whether Productos l\/iexicanos Don Jose,
lnc. tortiously interfered with the contractual relationship between

B&F and Lloyd LeBlanc as established by the Service i\/iark License

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Agreement prior to the termination of the Agreement on November

12, 2007.

You must determine whether Direct Source imports, lnc.
tortiously interfered with the contractual relationship between B&F
and Lloyd LeBlanc as established by the Service i\/lark License
Agreement However, any tortious interference claim against Direct
Source lmports, inc. is limited to the time period between the
incorporation of Direct Source imports, inc. on l\/lay 25, 2007 and the

date the Agreement was terminated, November 12, 2007.

l will now instruct you on the law governing the tortious

interference with contractual relations claims

To establish a cause of action for tortious interference with

contractual relations, B&F must establish: (1) the existence of a valid

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contract; (2) that the defendant acted improperly and without
privilege; (3) that the defendant acted purposely and maliciously with
the intent to injure; (4) that the defendant induced a breach of
contractual obligations or caused a party or third party not to enter
into or continue a business relationship with the piaintiff; and (5) that
the defendant caused B&F some financial injury. There is no dispute

that the contracts at issue are valid.

in this context, improper conduct means wrongful action that
generally involves predatory tactics such as fraud or

misrepresentation, or use of confidential information

The term malice in the context of a tortious interference claim
means any unauthorized interference or any interference without

legal justification or excuse.

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interference with a contractual relationship need not result in
the breach of the contract to be actionable lt is sufficient if the
invasion retards performance of the duties under the contract or

makes the performance more difficult or expensive.

if you find for B&F on any of the tortious interference with
contractual relations ciaims, you will then consider the issue of the
amount of damages to be awarded. in that respect you should award `
B&F an amount of money shown by a preponderance of the
evidence in the case to be fair and adequate compensation for such
loss or damage, if any, as proximately resulted from the tortious
interference For damage to be the proximate result of such
interference, it must be shown that, except for the tortious

interference, such damage would not have occurred.

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in considering the issue of B&F’s damages, you are instructed
that you should assess the amount you find to be justified by a
preponderance of the evidence as full, just, and reasonable
compensation for ali of B&F’s damages, no more and no less
Compensatory damages are not allowed as a punishment and must
not be imposed or increased to penalize the defendants Aiso,
compensatory damages must not be based on speculation or

guesswork because it is only actual damages that are recoverabie.

Damages are given as compensation for injury; generaliy, such
compensation is the measure of damages where an injury is of a
character capable of being estimated in money. if an injury is small

or the mitigating circumstances are strong, nominal damages only

are given.

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What would be a proper amount of nominal damages is a

question for you to decide under ali the facts and circumstances of

the case.

Any person who claims damages as a result of an alleged
wrongful act on the part of another has a duty under the law to
mitigate those damages - that is, to take advantage of any
reasonable opportunity that may have existed under the

circumstances to reduce or minimize the loss or damage.
LANHAM ACT AND RELATED STATE LAW CLA|MS

The third claims about which you heard evidence in this phase

of the trial were B&F’s Lanham Act and related state law claims

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You must decide whether Lloyd LeBlanc, Jeff LeBlanc, Jody
LeBlanc, Edna LeBlanc, i\/laxam Whoiesaie of Atianta, inc., Direct
Source imports, inc., Productos i\/iexicanos Don Jose, inc., or

LeBlanc’s LLC infringed on B&F’s trademark, as claimed by B&F.
l will now charge you on the applicable law for this claim.

A trademark is a word, a name, a symbol, a device, or a
combination of them that indicates the source of goods or services
Subject to certain defenses a trademark owner may enforce the

right to exclude others in an action for infringement

The owner of a trademark may obtain a certificate of
registration issued by the United States Patent and Trademark
Office. Afterwards, if the owner brings an action for infringement the

owner may rely solely on the registration certificate to prove that the

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owner has the right to exclude others from using the trademark in
connection with the types of goods or services specified in the
certificate. The United States Patent and Trademark Office provides
for what is called the Principai Register fortrademarks. Registration

on the Principai Register provides a presumption of the trademark’s

vaiidity.

The United States Patent and Trademark Office also provides
for what is called the Suppiemental Register for trademarks
Registration on the Suppiemental Register does not provide a

presumption of the trademark’s validity.

The owner of a trademark may enter into an agreement that
permits another person to use the trademark. This type of
agreement is called a iicense, and the person permitted to use the

trademark is called a licensee.

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in proving infringement of its trademark, B&F has the burden of
proving each of the following by a preponderance of the evidence:
(1) that it possesses a valid trademark; (2) that a defendant used the
trademark without B&F’s consent; (3) that the defendant’s use of the
trademark occurred in commerce; (4) that the defendant used the
trademark in connection with the sale or advertising of any goods;
and (5) that the defendant used the trademark in a manner likely to

COl"ilLlS€ COl'lSUlTl€l'S.

The Lanham Act defines the term “use in commerce” as the
bona fide use of a mark in the ordinary course of trade, and not
made merely to reserve a right in a mark. A mark shall be deemed to
be in use in commerce on goods when it is placed in any manner on
the goods or their containers or the displays associated therewith or
on the tags or labels affixed thereto, or if the nature of the goods

makes such placement impracticable, then on documents

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associated with the goods or their saie, and the goods are sold or
transported in commerce. in addition, use of a trademark in a

domain name or as a key word or metatag may be use in commerce.

You must decide whether any of the defendants infringed on
B&F’s “l\/iAXAi\/l” trademark. B&F registered “i\/iAXAl\/l” on the
Principal Register for certain categories of products “i\/iAXAi\/i” is a
valid trademark. You only need consider whether a defendant used
the “iVlAXAi\/l” mark in commerce without B&F’s consent in
connection with the sale or advertising of any goods in a manner

likely to confuse consumers

LlD KNOB TRADEMARK

You must also decide whether any of the defendants infringed

on B&F’s lid knob trademark Because the lid knob trademark is

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registered on the Suppiementai Register, it is not presumed valid.
B&F must establish by a preponderance ofthe evidence that the lid
knob trademark is valid. Oniy if you determine B&F proved by a
preponderance ofthe evidence that the lid knob trademark is a valid
trademark should you consider whether B&F owns it or whether any

defendant’s action infringed it.

A valid trademark is a word, symbol, or device that is either: (1)
inherently distinctive; or (2) descriptive, but has acquired a

secondary meaning.

Oniy if you determine that the lid knob trademark is not
inherently distinctive should you consider whether it is descriptive

but became distinctive through the development of secondary

meaning.

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An inherently distinctive trademark is a word, symbol, or device,
or combination of them, which intrinsically identifies a particular
source of a good in the market The law assumes that an inherently
distinctive trademark is one that almost automatically tells a
consumer that it refers to a brand or a source for a product, and that
consumers will be predisposed to equate the trademark with the

source of a product

Trademarks are classified into the following categories of
distinctiveness: (1) generic, (2) descriptive, (3) suggestive, and (4)

arbitrary or fanciful.

A generic mark suggests the basic nature of the product or
service. A descriptive mark identifies a characteristic or quality of a
product A suggestive mark refers to some characteristics of the

product or service and requires an effort of the imagination by the

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consumer in order to be understood as descriptive. An arbitrary or
fanciful mark bears no logical relationship to the product it

represents

Suggestive and arbitrary or fanciful marks are deemed
inherently distinctive because their intrinsic nature serves to identify

a particular source of a product

Generic marks are generally incapable of receiving trademark

protection.

Descriptive marks, though not inherently distinctive, may
become sufficiently distinctive to enjoy trademark protection by
acquiring secondary meaning. A mark has acquired secondary
meaning when the primary significance of the term in the minds of

the consuming public is not the product but the producer.

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if you decide that the lid knob trademark is suggestive or
arbitrary or fanciful, it is considered to be inherently distinctive An

inherently distinctive trademark is valid and protectable

On the other hand, if you determine that the lid knob trademark
is generic, it cannot be distinctive and therefore is not valid or

protectable

if you decide that the lid knob trademark is descriptive, you will
not know ifthe trademark is valid or invalid until you consider if it has

gained distinctiveness by the acquisition of secondary meaning,

which i will explain now.

Proof of secondary meaning in a trademark requires a showing
that the mark has become distinctive of the trademark hoider’s

product in determining whether a trademark has acquired

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secondary meaning, you should consider the length and manner of
the mark’s use; the nature and extent of advertising and promotion;
the efforts made by B&F to promote a conscious connection in the
public’s mind between the trademark and B&F’s business; and the

extent to which the public actually identifies the trademark with

B&F’s goods

B&F has the burden of proving that the lid knob trademark has

acquired a secondary meaning.

Oniy if you determine the lid knob trademark is a valid
trademark, will you consider whether any defendant used the lid
knob mark in commerce without B&F’s consent in connection with

the sale or advertising of any goods in a manner likely to confuse

COnSUm€rS.

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COMMON LAW RlGHT TO “MAXAM WHOLESALE”

B&F also claims common law trademark rights to “l\/laxam
Whoiesaie.” B&l-' must show it acquired trademark rights in “i\/iaxam
Whoiesaie.” Common law trademark rights are appropriated only
through actual prior use in commerce The use of a mark in
commerce must be sufficient to establish ownership rights for a
plaintiff to recover against subsequent users B&F bears the burden
of proving its prior use in commerce l have already charged you on

the definition of “use in commerce.”

There is a two-part test to determine whether a party has
proved prior use of a mark sufficient to establish ownership. First,
evidence showing adoption must be presented . Second, evidence of
use of the mark in a way sufficiently public to identify or distinguish

the marked goods in an appropriate segment of the public mind as

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those of the adopter ofthe mark must be shown Thus, the party that
first adopts and uses the trademark in association with its goods,
sufficient to form an association between the two in the public mind,
establishes its common law rights to the mark. You should consider
the totality of the circumstances surrounding the prior use of the

mark to determine whether such notice or association is present

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if you determine B&F owns “i\/iaxam Whoiesaie,” you must
determine whether “l\/laxam Whoiesaie” is a valid trademark. l have
already charged you on how to determine whether a mark is valid.
Oniy if you determine B&F owns “l\/laxam Whoiesaie” will you
consider the validity of the trademark. if you determine B&F owns
“i\/iaxam Whoiesaie” and that it is a valid trademark, you will then
consider whether a defendant used “l\/iaxam Whoiesaie” in
commerce without B&F’s consent in connection with the sale or

advertising of any goods in a manner likely to confuse consumers

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FALSE DES|GNATION OF ORlGlN/UNFAlR CONlPETlTlON

You must decide whether Lloyd LeBlanc, Jeff LeBlanc, Jody
LeBlanc, Edna LeBlanc, i\/laxam Whoiesaie of Atianta, inc., Direct
Source lmports, inc., Productos l\/lexicanos Don Jose, inc., or

LeBlanc’s LLC are liable for false designation of origin/unfair

competition
i will now charge you on the applicable law for this ciaim.

Under the Lanham Act, any person who makes use in
commerce of any word, term, name, or symbol, or combination
thereof, or any false or misleading designation of origin, or any false
description or representation of fact, that is likely to cause confusion
as to origin of that person’s goods or services, that person’s

affiliation connection or association with another person, or the

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endorsement or approval of the goods or services by another person

is liable to any person who is or is likely to be damaged by the use

in assessing the trademark infringement and false designation
of origin/unfair competition ciaims, you must consider whether a
defendant used a trademark in a manner likely to cause confusion
in determining whether there is or will be a likelihood of confusion,
you may draw on your common experience as citizens of the
community. in addition to the general knowledge you have acquired
throughout your lifetimes, you should also consider the following
factors: (1) the strength of B&F’s trademark; (2) the similarity
between B&F’s trademark and the allegedly infringing trademark; (3)
the similarity between the products and services offered by B&F and

the defendant; (4) the similarity of the sales methods used by B&F

and the defendant; (5) the similarity of advertising methods used by

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B&F and the defendant; (6) the defendant’s intent to misappropriate

B&F’s good wiil; and (7) actual confusion in the consuming public.

in light of these considerations and your common experience,
you must determine if ordinary consumers, neither overly careful nor
overly careless, would likely be confused as to the origin of the
products, upon encountering the trademark belonging to B&F as the
respective parties have used it in connection with the products No

one factor or consideration is conclusive, but each aspect should be

weighed in light of the total evidence presented at the trial.

if you find for B&F on its claim for trademark infringement or its
claim for false designation of origin/unfair competition, you must
determine B&F’s damages B&F has the burden of proving damages

by a preponderance of the evidence

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Damages means the amount of money that will reasonably and

fairly compensate B&F for any injury you find was caused by the

defendant’s actions

You should consider the following types of damages for the
trademark infringement and false designation of origin/unfair
competition ciaims: (1) B,;&F’s actual damages; and (2) the

defendant’s profits B&F’s actual damages consist of its direct

economic losses and out-of-pocket expenses resulting from the

effect of the defendant’s conduct on B&F.

,You should consider whether any of the following exists, and if
so to what extent, in determining B&F’s actual damages; (1) any
injury to B&F’s reputation; (2) any injury to B&F’s goodwili, including
any injury to its reputation; (3) any loss of B&F’s sales as a result of

the defendant’s infringement or false designation of origin/unfair

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competition; (4) any loss of B&F’s profits; (5) any expense of
preventing customers from being deceived; (6) any cost of future
corrective advertising reasonably required to correct any public
confusion caused by the infringement or false designation of
origin/unfair competition; and (7) any other factors that bear on
B&F’s actual damages Any actual damages awarded must

constitute compensation and not a penalty.

in addition to actual damages, if B&F prevails on its trademark
infringement or false designation oforigin/unfair competition claim, it
may seek profits the defendant earned that are attributable to the
infringement or false designation of origin/unfair competition
provided that B&F proves by a preponderance of the evidence: (1)
that the defendant’s conduct was willful and deliberate; (2) that the
defendant was unjustly enriched; or (3) that an award of the

defendant’s profits will deter similar future conduct.

 

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B&F may establish that the infringement or false designation of
origin/unfair competition was willful if the defendant’s conduct was

not accidentai, and was done knowingly or with disregard of B&F’s

rights

B&F may prove the defendant was unjustly enriched if the
defendant knowingly and deliberately profited from the goodwill of
B&F through use of B&F’s trademark, or enriched itself by tapping

into the reputation and good will of B&F.

Finaily, B&F may prove a need to deter similar future conduct
where there is evidence that the defendant infringed the trademark

to its financial advantage

in the event you find that B&F is entitled to an award of profits,

B&F may recover any of the defendant’s profits that are attributable

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to the trademark infringement or false designation of origin/unfair
competition However, you may not include in any award of profits

any amount that you included in determining actual damages

B&F is required to prove the defendant’s gross sales. Then the
defendant is required to prove by a preponderance of the evidence
the portion of the profit attributable to factors other than use of the
infringed trademark or false designation of origin/unfair competition
as well as expenses Expenses are ali operating, overhead, and

production costs incurred in producing the gross revenue The

difference between gross sales and expenses is profit.

Uniess you find that a portion of the profits from the sale of the
goods using the trademark is attributable to factors other than use of

the trademark, you must find that the total profit is attributable to the

infringement

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B&F does not have to demonstrate actual damage to seek the

defendant’s profits

if you decide B&F is entitled to recover for its trademark
infringement or false designation of origin/unfair competition claims
you must also decide if the liable defendant’s actions were
malicious fraudulent, delibej\rate, or willful. in this context willfulness
can be established by evidence of willful blindness Under the

doctrine of willful blindness knowledge can be imputed to a party

who knows of a high probability of illegal conduct and purposefully

contrives to avoid learning of it.
GEORG|A UN|FORM DECEPTIVE TRADE PRACT|CES ACT

There is also a claim that the defendants violated the Georgia

Uniform Deceptive Trade Practices Act.

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This claim is governed by the same standards as B&F’s claim
for false designation of origin/unfair competition under the Lanham
Act if you find in B&F’s favor on its false designation of origin/unfair
competition claim, your verdict must be for B&F on its claim under
the Georgia Uniform Deceptive Trade Practices Act. if you find in the
defendants’ favor on B&F’s false designation of origin/unfair
competition claim, your verdict must be for the defendants on B&F’s

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claim under the Georgia Uniform Deceptive Trade Practices Act
if you find in B&F’s favor on the Georgia Uniform Deceptive

Trade Practices Act, you must determine whether the defendants

willfully engaged in the trade practice knowing it to be deceptive

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cYBERPlRAcY l

You must also decide whether Jeff LeBlanc’s use of the
“l\/lAXAl\/i” mark in the domain names maxamwholesale.com or
maxamwholesale.net on the internet violated the Anticybersquatting

Consumer Protection Act, or ACPA.

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` l will now charge you on the applicable law for this ciaim.

The ACPA provides trademark owners with a remedy against
cyberpiracy, or the registration of another person’s trademark as a
domain name with the bad faith intent of profiting from the sale or

use of the domain name

To prevail on its claim under the ACPA, B&F must prove by a

preponderance of the evidence that: (1) its mark is distinctive or

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famous and entitled to protection; (2) Jeff LeBlanc’s domain name is
identical or confusingly similar to B&F’s mark; and (3) Jeff LeBlanc

used the domain name with a bad faith intent to profit

in considering whether Jeff LeBlanc had a bad faith intent to
profit, you may consider the following factors: (1) the trademark or
other intellectual property rights ofJeff LeBlanc, if any, in the domain
name; (2) the extent to which the domain name consists of the legal
name of Jeff LeBlanc or a name that is otherwise commonly used to
identify Jeff LeBlanc; (3) Jeff LeBlanc’s prior use, if any, of the
domain name in connection with the bona fide offering of any goods
or services; (4) Jeff LeBlanc’s bona fide noncommercial or fair use of
the mark in a site accessible under the domain name; (5) Jeff
LeBlanc’s intent to divert customers from B&F’s oniine location to a

site accessible under the domain name that could harm the goodwill

represented by the mark, either for commercial gain or with the

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intent to tarnish or disparage the mark, by creating a likelihood of
confusion as to the source, sponsorship, affiliation or endorsement
of the site; (6) Jeff LeBlanc’s offer to transfer, seii, or otherwise
assign the domain name to B&F or any third party for financial gain
without having used, or having an intent to use, the domain name in
the bona fide offering of any goods or services or Jeff LeBlanc’s
prior conduct indicating a pattern of such conduct; (7) Jeff LeBlanc’s
provision of material and misleading false contact information when
applying for the registration of the domain name, Jeff LeBlanc’s
intentional failure to maintain accurate contact information or Jeff
LeBlanc’s prior conduct indicating a pattern of such conduct; (8) Jeff
LeBlanc’s registration or acquisition of multiple domain names which
he knows are identical or confusingly similar to marks of others that
are distinctive at the time of registration of such domain names or

dilutive of famous marks of others that are famous at the time of

registration of such domain names without regard to the goods or

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services of the parties; and (9) the extent to which the mark
incorporated in Jeff LeBlanc’s domain name registration is or is not

distinctive and famous

Any liability on the part of Jeff LeBlanc under the ACPA is

limited to use ofthe domain names during the time period of i\/iay 31 ,

2007 to June 4, 2011.

if you find that Jeff LeBlanc violated the ACPA, you must
determine the amount of money to award B&F, if any. B&F has the

burden of proving damages by a preponderance of the evidence

in determining B&F’s damages for Jeff LeBlanc’s improper use

of the trademark, you should consider B&F’s actual damages and

any profits gained by Jeff LeBlanc from the improper use of the

trademark

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if you find that Jeff LeBlanc violated the ACPA, you must also
decide whether his actions were malicious fraudulent, deliberate, or
willful. in this context willfulness can be established by evidence of
willful blindness Under the doctrine of willful blindness knowledge
can be imputed to a party who knows of a high probability of illegal
conduct and purposefully contrives to avoid learning of it.

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VlCARlOUS LlABlLlTY CLA|MS

The final claims about which you heard evidence were B&F’s
vicarious liability claims i will now charge you on the applicable law

for each of those claims

You must decide whether Lloyd LeBlanc, Edna LeBlanc, Jeff

LeBlanc, and Jody LeBlanc engaged in a civil conspiracy. B&F

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bears the burden of proof of showing a civil conspiracy by a

preponderance of the evidence

A conspiracy is a combination of two or more persons to
accomplish an unlawful end or to accomplish a lawful end by
unlawful means To recover damages for a civil conspiracy claim,
the plaintiff must show that two or more persons acting in concert,
engaged in conduct that constitutes a tort. Absent the underlying

tort, there can be no liability for civil conspiracy.

Concert of action amounting to conspiracy, may be shown by

circumstantial as well as direct evidence

After the conspiracy is formed, members of the conspiracy are
jointly and severally liable for acts of co-conspirators done in

furtherance of the conspiracy. it is not necessary to prove an

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express agreement or compact among the wrongdoers; their
common design may be inferred from the nature of the acts done,

the relation between them, their mutual interests in the matter, and

other circumstances

You must determine whether Direct Source imports inc. and

Productos l\/iexicanos Don Jj\ose, inc. should be held jointly liable as

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a common business enterprise

in order for two or more of the corporate defendants to be
jointly liable under the theory that they were joint participants in a
common business genterprise, B&F must prove the following by a
preponderance of the evidence: (1 ) that at least one of the corporate
defendants is liable to B&F under one of the theories of liability
about which l have previously given you instructions; (2) that the

corporate defendant found liable and either another corporate

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defendant or both of the other corporate defendants substantially
shared the same shareholders officers and managers; and (3) that
any corporate defendant found liable and the other corporate
defendant or defendants that substantially shared the same
shareholders officers and managers also held themselves out to

the public as being components of a single business operation so

as to make them liable together.

if you find that Productos l\/iexicanos Don Jose, inc. tortiously
interfered with the i\/laxam independent DistributorAgreement or the
Service i\/iark License Agreement, you must determine whether Jeff
LeBlanc or Jody LeBlanc, as corporate officers of Productos

i\/iexicanos Don Jose, inc., should be held personally liable for any

torts committed by that corporation

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Simiiarly, if you find that Direct Source imports lnc. tortiously
interfered with the i\/iaxam independent DistributorAgreement or the
Service l\/iark License Agreement, you must determine whether Jeff
LeBlanc or Jody LeBlanc, as corporate officers of Direct Source

imports inc., should be held personally liable for any torts

committed by that corporation
B&F bears the burden of showing by a preponderance of the
evidence that the corporate officers should be held personally liable

for the torts committed by the corporations

Generally, one who merely occupies the capacity of a corporate
officer cannot be held to be vicariously liable for such damages as
would otherwise be recoverable from his corporate principal.
However, there is an exception to this rule An officer of a

corporation who takes part in the commission of a tort by the

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corporation is personally liable therefor, but an officer of a
corporation who takes no part in the commission ofa tort committed
by the corporation is not personally liable unless he specifically
directed the particular act to be done or participated or cooperated

therein

if you find that l\/iaxam_\ Whoiesaie of Atlanta, inc. is liable for
trademark infringement l or false designation of origin/unfair
competition you must determine whether Lloyd LeBlanc, as a
corporate officer of i\/iaxam Whoiesaie of Atlanta, inc., should be

held personally liable for the trademark infringement or false

designation of origin/unfair competition

if you find that Productos i\/iexicanos Don Jose, lnc. is liable for
trademark infringement or false designation of origin/unfair

competition you must determine whether Jeff LeBlanc or Jody

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LeBlanc, as corporate officers of Productos i\/lexicanos Don Jose,
inc., should be held personally liable forthe trademark infringement

or false designation of origin/unfair competition

if you find that Direct Source imports inc. is liable for
trademark infringement or false designation of origin/unfair
competition you must determine whether Jeff LeBlanc or Jody
LeBlanc, as corporate officers of Direct Source imports inc., should

be held personally liable for the trademark infringement or false

designation of origin/unfair competition

B&F bears the burden of showing by a preponderance of the
evidence that the corporate officers should be held personally liable
for any trademark infringement or false designation of origin/unfair

competition

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A corporate officer who directs controls ratifies participates in
or is the moving force behind the infringing activity, is personally

liable for such infringement without regard to piercing of the

corporate veil.

Cf course, the fact that l have given you instructions
concerning the issue of damages should not be interpreted in any

way as an indication that i believe that either B&F as the plaintiff or

Lloyd LeBlanc as the counterclaimant should, or should not, prevail

in this case.

in this case you have been permitted to take notes during the
course of the triai, and some of you have taken advantage of that

opportunity and have made notes from time to time

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You will have your notes available to you during your
deliberations but you should make use of them only as an aid to
your memory. in other words you should not give your notes any
precedence over your independent recollection of the evidence or
the lack of evidence; and neither should you be unduly influenced by

the notes of other jurors

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l emphasize that notes are not entitled to any greater weight
than the memory or impression of each juror as to what the

testimony may have been

During your deliberations you must not communicate with or
provide any information to anyone by any means about this case
You may not use any electronic device or media, such as telephone,
cell phone, smart phone, iPhone, Blackberry, or computer; the

internet, any internet service, or any text or instant messaging

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service; or any internet chat room, blog, or website such as
Facebook, i\/iy Space, Linkedln You Tube, or Twitter, to
communicate to anyone any information about this case or to

conduct any research about this case until i accept your verdict

Any verdict you reach in the jury room must be unanimous in
other words to return ay, verdict you must ali agree Your

deliberations will be secret; you will never have to explain your

` verdict to anyone

lt is your duty as jurors to discuss the case with one another in
an effort to reach agreement if you can do so. Each of you must
decide the case for yourself, but only after full consideration of the
evidence with the other members of the jury. Whiie you are
discussing the case do not hesitate to re-examine your own opinion

and change your mind if you become convinced that you were

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wrong. But do not give up your honest beliefs solely because the

others think differently or merely to get the case over with.

Remember, that in a very real way you are judges - judges of

the facts Your only interest is to seek the truth from the evidence in

this case

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in the jury room, lVir. Abeli will continue to serve as the

foreperson

A form of verdict has been prepared for your convenience

[Expiain verdict form]

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You will take the verdict form to the jury room and when you
have reached a unanimous agreement the foreperson will fill in the

verdict form, date and sign it, and then return to the courtroom.

if you should desire to communicate with me at any time,
please write down your message or question and pass the note to
the security officer, who will bring it to me. i will then respond as
promptly as possible, either in writing or by having you come back to
the courtroom so that l may address you oraiiy. l caution you,
however, with regard to any message or question you might send,
you should not tell me, the security officer, or anyone else what your

numerical division may be.

You may go now to the jury room, but do not begin your
deliberations until i send you the pleadings exhibits and verdict

form, which l will do shortiy. Then you may begin your deliberations

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